                                Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 1 of 19
                                                         Exhibit A to the Complaint
Location: Sacramento, CA                                                                           IP Address: 73.12.214.39
Total Works Infringed: 163                                                                         ISP: Comcast Cable
 Work      Hashes                                                                UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                            02-19-     Vixen         06-28-2019    08-27-2019   PA0002213233
           425B69EBF37AF69ECEF370C54A0B8F23AB28C401                              2022
           File Hash:                                                            17:37:10
           7C0FB3C1BB3F1DF8CAAC603A4D2F6E76DC9BDB04138DC2CBABB665BADAE3B47B
 2         Info Hash:                                                            02-18-     Vixen         05-15-2020    06-08-2020   PA0002243648
           2D8F105CB57AD0FD1250254D4910D00E4CBBCDCC                              2022
           File Hash:                                                            03:51:08
           E02D528851367835DE17CC4D35D0BA309A12CBBFE4576886A79AEB1B91F66DCC
 3         Info Hash:                                                            02-18-     Vixen         05-29-2018    07-14-2018   PA0002128390
           24F17708EFCAC58DF9FDADED47654864C1F4DB52                              2022
           File Hash:                                                            03:09:42
           FBAADD72C5F7E2E8081B8CA6D56DBE05C302462E0D2E8D0F0B82E2DFB637F579
 4         Info Hash:                                                            02-15-     Vixen         12-25-2019    01-03-2020   PA0002219640
           75A353D79EC4B06347D0AD1935D3F3D242B8A70C                              2022
           File Hash:                                                            01:16:57
           6F67DB138AEA067313D743B5DE624E3218F0C0A3BA98F12C6FA44D04FF31F9BA
 5         Info Hash:                                                            02-15-     Blacked       09-29-2021    11-11-2021   PA0002321302
           B3CF1BC90895F4A5C53C9B30A7EB76F20B525656                              2022
           File Hash:                                                            01:14:33
           A92FCFF6E4F800D2DC258FF1F12F6581EDDC834A3A47873F8CAC6636C8636108
 6         Info Hash:                                                            02-15-     Vixen         07-18-2019    09-10-2019   PA0002199410
           73AE32099EBCDFF152626E1D575C026CF59135DC                              2022
           File Hash:                                                            01:14:33
           33E9C45701015E4B864D2C4DD6D818BF2A8742FB4F11412D73F3F44F5F73D2E0
 7         Info Hash:                                                            02-15-     Vixen         07-31-2020    08-11-2020   PA0002252260
           BEF0D2E7B96DDC060FA0F61AB59A5985525115B5                              2022
           File Hash:                                                            01:14:07
           B67B097F801EEA65584A38F8DCE91095187EC713948B4F65B62B25346C690CAF
 8         Info Hash:                                                            02-15-     Blacked       02-12-2022    02-14-2022   PA0002335505
           540D644F7CF4DC47791772863E6BA03A72606F6D                              2022
           File Hash:                                                            01:07:01
           F978C6F42E86569866612143F5CEA150485BFF0DB9B90999F20D4408700E2B1D
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 2 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         02-09-     Blacked   02-07-2022   02-14-2022   PA0002335458
       7A65B2C57EF88AE976AD94C7AAB3416BD5DEA644                           2022       Raw
       File Hash:                                                         21:33:09
       9A7E2A81CCD393B971588C52B96044830AC088C83B01F474ED17B21471D05A42
10     Info Hash:                                                         02-07-     Blacked   02-05-2022   02-14-2022   PA0002335503
       CCB036966D15109AEF226C917EB117567355E4D4                           2022
       File Hash:                                                         02:17:01
       3546FEAD7F9F6CCC421ECD4E80B0D58FDD60807BC4596D879F7750C3CC2693F6
11     Info Hash:                                                         02-03-     Blacked   11-21-2018   12-18-2018   PA0002141915
       716BD92E139BE2039209B3F8C494B7A8356E4774                           2022       Raw
       File Hash:                                                         17:25:29
       D02255E8C093E98B712A51334068B516A9B2B7C10B0482D76261E8C7712FE1E0
12     Info Hash:                                                         02-03-     Blacked   05-02-2019   05-28-2019   PA0002200769
       FB74770301183194E022950AB806F22711E1D882                           2022       Raw
       File Hash:                                                         17:25:04
       F46BFB163A513B7F3E12142FBD8465F06FA30094AA36D8A3EA740283856110EB
13     Info Hash:                                                         02-02-     Blacked   11-11-2019   11-27-2019   PA0002213994
       0075912858F26F4B9B02968E5B9913617E3F3830                           2022
       File Hash:                                                         22:25:22
       D19DE7E11241A54E88C807833D4C62AB0E74BF1D7C22D6D23A6E3AFBBFB0412C
14     Info Hash:                                                         02-02-     Blacked   06-13-2020   06-22-2020   PA0002245632
       F1DF7C2B1D8FD00420FBF17A5A42BA81CBC4C25D                           2022
       File Hash:                                                         22:21:13
       656D9E44A6B796CF3CC460338A894A5B54551489EDC8FF4EBDC812FAA0017E5E
15     Info Hash:                                                         02-02-     Blacked   05-20-2018   07-14-2018   PA0002128469
       6677A34981ADD5ECD31DE1CA597F1FFC7F7D5D77                           2022
       File Hash:                                                         22:19:59
       DF01FAC71E200AADC39775BB000F3DF98A43F715767F321ED62A96342238B9BE
16     Info Hash:                                                         02-02-     Blacked   11-22-2021   12-09-2021   PA0002325831
       F384E970AC450A02931E74335A99876DCA5AFBFF                           2022       Raw
       File Hash:                                                         22:19:26
       201D0FF4E41487C0C1B7C759ED7237173F0D4D0F56007F7D5EC7FE0E6CB68A0A
17     Info Hash:                                                         02-02-     Blacked   04-10-2019   05-11-2019   PA0002173883
       80494AFA4036C921B131676C3D1A61F5DE378231                           2022
       File Hash:                                                         22:19:23
       85424ED7263189BB726B267E8436C95A6813BF8FA9C33CFAB19E35095E7FBBC4
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 3 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         02-02-     Blacked   09-12-2018   11-01-2018   PA0002143426
       B038E50CE96EA99AC02E1BCF051643E7314A3667                           2022
       File Hash:                                                         22:19:17
       72EAA4CC3AC4AF5B8AA2AD7BE38FAEC63017FABD2E62BA4876A94B5E05131F37
19     Info Hash:                                                         02-02-     Blacked   06-21-2019   08-27-2019   PA0002213241
       5F75B9CECC4F3FEEA7CE46BEDA2B70A0BA267B19                           2022       Raw
       File Hash:                                                         21:33:34
       98CDC17BC4D0A858192F41FD54802AA61EC55EE5616632DC63F7F18150DC90BA
20     Info Hash:                                                         02-02-     Blacked   01-29-2022   02-14-2022   PA0002335485
       27AE1E1034EA8BB067DFE05D0C8A6F35A4A4C51D                           2022
       File Hash:                                                         21:23:37
       CDD56A4C5055860375D8539B9F2524A4013525256F75F6D3168EE368B7F65D3F
21     Info Hash:                                                         01-27-     Blacked   05-17-2019   07-05-2019   PA0002206002
       C340030059AF08957371330E339FB3AA67E8FFDB                           2022       Raw
       File Hash:                                                         04:20:49
       6BA96B48297951EA5CD38799CC99EBF61F1A282C5634BBFF3688E1D6989D64C4
22     Info Hash:                                                         01-27-     Blacked   04-17-2018   05-23-2018   PA0002101308
       F15A3D34FF0FD051292EC25A6DBB3F574863F6E2                           2022       Raw
       File Hash:                                                         04:20:44
       4D5131F83A161A61BCC759E3AA7729C7BF9F99527E0D0FA59AD26AD5A61316B7
23     Info Hash:                                                         01-27-     Blacked   04-12-2018   06-18-2018   PA0002126637
       9A5ACC9C958C00F1B826AC91A7DB3423BCE3F400                           2022       Raw
       File Hash:                                                         04:20:36
       3907F5F1B4D7BDF3C32081D6DFECFDA0FFC5A500A4853B1F1B0294CA71241F2B
24     Info Hash:                                                         01-27-     Blacked   02-17-2020   04-17-2020   PA0002246110
       FB4C20732176FA0C5194BF272983EE8EE1CFDA16                           2022       Raw
       File Hash:                                                         03:56:07
       68B5CBC7E02BA6735B245E1ED8A412CDE3C393E2D890E2151360A81DC93C2DAB
25     Info Hash:                                                         01-27-     Blacked   06-22-2020   07-16-2020   PA0002248579
       AA54116A792991B71CCAA2C575ECF8C9CCE0194F                           2022       Raw
       File Hash:                                                         03:55:00
       52A26C326121535D9FDF1E6199AA896A0DA3C257BD543AD2179377586DB8B894
26     Info Hash:                                                         01-27-     Blacked   01-27-2020   03-15-2020   PA0002240550
       093FF3C313504ED32913B9D8DACBB6EE2E888959                           2022       Raw
       File Hash:                                                         03:50:55
       DBB3A1ECDC30D2E12E9E548DFDACC26F3552C761C387C14986872EB72DC07517
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 4 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         01-27-     Blacked   11-18-2019   12-09-2019   PA0002216261
       28D3A9EC7C6D3A6CA0C764EF6A4C9B3E0430CB8E                           2022       Raw
       File Hash:                                                         03:49:56
       1417D1E60436334A79D2822C80AED298E3266BFDD20924CF09A99BC161454E14
28     Info Hash:                                                         01-27-     Blacked   01-12-2018   01-23-2018   PA0002101755
       2D9075EBB1F26DF17BDDA3A97A44F322D12AFCB4                           2022       Raw
       File Hash:                                                         03:36:31
       D16DF83A00305C34F08B013F7C1AD485D4856A3B0BC2CDD84EBABC859EDB141F
29     Info Hash:                                                         01-27-     Blacked   09-04-2018   11-01-2018   PA0002143430
       763A6FC5F201546394575CD7601D8C2D7DBD3AE7                           2022       Raw
       File Hash:                                                         03:14:55
       A2BE74C8C93C222986472D05AD8FD915556D28A62D19C4E1BA8E14CFBC4CE75A
30     Info Hash:                                                         01-27-     Blacked   12-13-2021   01-17-2022   PA0002330111
       C42EE371002AEEA77C5452EDB31E0132A3D47B6E                           2022       Raw
       File Hash:                                                         03:14:17
       8F86F2EA5E22176E3351BBF65BE24B9C737E9DF52772F1B0CFF2916A66F40C20
31     Info Hash:                                                         01-27-     Blacked   07-24-2018   09-01-2018   PA0002119589
       44EE8007D31DF8D2883B228679B50BB1595A5667                           2022
       File Hash:                                                         03:08:45
       55FC2F77E81859E8B87D1F9CF22A955FF16C16FB4A9B88F167E504FEC23C6B40
32     Info Hash:                                                         01-24-     Blacked   04-27-2020   05-19-2020   PA0002241476
       FD9F9AB92752B9716BB2119D064F264C797BB67D                           2022       Raw
       File Hash:                                                         18:09:29
       6804B83ED233CE1FCC3660243C33F78D4C1B8DD8B0D454765E8E0D5ACF92A690
33     Info Hash:                                                         01-17-     Blacked   01-08-2022   01-17-2022   PA0002330123
       639F7366853B85815E75CEBDB046E48402E59ACD                           2022
       File Hash:                                                         03:35:07
       837885507F3F58246EDBA7D8357B446F958E62FBDB06477F17E6ADD87F91C2D3
34     Info Hash:                                                         01-17-     Blacked   01-01-2022   01-17-2022   PA0002330118
       49AA44C17AB7EF7E8DEAD2ABEB7DAFCCA9BDE2CC                           2022
       File Hash:                                                         03:29:10
       33CF0352EB90E38E8DEE767FB8FB8AB2662318B2A0C3BE6523EF801D48D4C014
35     Info Hash:                                                         01-17-     Blacked   01-10-2022   02-14-2022   PA0002335456
       6902DC672B3C032B826DC579A9CD497D8DC64E25                           2022       Raw
       File Hash:                                                         03:24:42
       753E8924910F86A17C85115140D693CE2FD664EA1FF132F5554CA0CBB66FC0D2
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 5 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         01-17-     Blacked   12-27-2021   01-17-2022   PA0002330095
       4942B26E65DF128854B844B35AB6AF20B3B289F2                           2022       Raw
       File Hash:                                                         03:22:02
       CB10299C3EEC78FA0D9219A52B89DC3EEC9548B9EEF182D9A55A81F195FB17B4
37     Info Hash:                                                         01-17-     Blacked   01-03-2022   01-17-2022   PA0002330091
       A2B5718BB1CAA00D0D665075430789678C3137E5                           2022       Raw
       File Hash:                                                         03:21:19
       C4491F8620011D39D4264B032B31E1E5B138812B6DFB79F78022EDB6FBDB50F9
38     Info Hash:                                                         12-20-     Blacked   06-21-2018   07-26-2018   PA0002112156
       48FC851FEDE158FA68466F2C2EC15D57A24CE18A                           2021       Raw
       File Hash:                                                         08:19:09
       12B63C03986585E66F366B94BF78B3EFB37104EF78E6543F97EC1F35C586A1AD
39     Info Hash:                                                         12-17-     Blacked   05-31-2021   06-15-2021   PA0002296925
       8EE948443FBE7B902CACD7BECB7FEF16C06E5747                           2021       Raw
       File Hash:                                                         03:11:50
       15E258694DED57BC6C45BCE2EE94A799DB8994134024375CAFCCBC3B9C4ED9B4
40     Info Hash:                                                         12-17-     Blacked   02-14-2018   03-02-2018   PA0002104757
       9FEF67B7211449EAC37C3C8AB46758A222FD9FA2                           2021
       File Hash:                                                         02:33:55
       2E108248BED7DD0424B39FFE847FF76507A2EF9A94EB2309D104070A25608180
41     Info Hash:                                                         12-17-     Blacked   06-26-2021   07-08-2021   PA0002300662
       6D40E6B3C68E4347A8776C49A5F33AED77C35A3C                           2021
       File Hash:                                                         02:28:24
       23CEF8CDE126E624213A1BBC3AEC0ED99E29DC5FCEECCC7F6D3EC3C7F4E9CF6E
42     Info Hash:                                                         12-17-     Vixen     04-23-2021   04-27-2021   PA0002288949
       0A403C5393AF81473E00CCCA915603AF1658D067                           2021
       File Hash:                                                         02:22:54
       8B3DE2365C94F483C7750F01139239B1FE005E0C3D56659AF2A8450DDEBB3AB4
43     Info Hash:                                                         12-12-     Vixen     04-04-2019   04-29-2019   PA0002169968
       AAB43732CA29D96F72C32A4D7590FD1111D8A86C                           2021
       File Hash:                                                         03:01:49
       336C39AA81CECA1E786A6C6A838549526A34BF8FCC7AA0D634CEE7A718B6DA26
44     Info Hash:                                                         12-12-     Vixen     08-07-2018   09-05-2018   PA0002135684
       FFB59D7B851B2FAC080AAAD07215FDA138C5D5B9                           2021
       File Hash:                                                         02:59:16
       4D2854BA411686AAE8016C70FC4069BB3DAFC98CE09D501E044B032EF5879205
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 6 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         12-12-     Blacked   10-22-2019   11-05-2019   PA0002210294
       0954E53A73B785744AF15D87A9C40DFF62F58E3C                           2021
       File Hash:                                                         02:56:27
       00CA5EFEBAD0CB80814FF11D1997821B82C03C2C7CB261DDBF5D0CC767BC0094
46     Info Hash:                                                         12-12-     Vixen     10-31-2019   11-15-2019   PA0002211917
       8964815B3EE407A3EBFECD69C9A66DF0EFAA05A3                           2021
       File Hash:                                                         02:55:08
       A404C4B8F66F1C6C6DA9E343BD7284ACCF468243D2AE64E4053DD9675ADF39B3
47     Info Hash:                                                         12-12-     Blacked   11-18-2018   12-10-2018   PA0002146476
       D9261D3722C161272619A45A80E6F849B0BC63B5                           2021       Raw
       File Hash:                                                         02:54:51
       9272236D752743F64E074A94ECCD8E592FB3F4520DD24DD9BEFF5878C22DC176
48     Info Hash:                                                         12-12-     Blacked   09-17-2018   10-16-2018   PA0002127778
       2D05320B68989487C8AF50B1A95167FB350F94E6                           2021
       File Hash:                                                         02:53:25
       89A19AA89DEC3BBF109F9020C709E50B9AE23B2F4AC85376FE69BB1D306273C9
49     Info Hash:                                                         12-12-     Vixen     12-25-2018   01-22-2019   PA0002147901
       96154576B485403DD6B729E9F56FA45DFF8B6B83                           2021
       File Hash:                                                         02:53:15
       3002D9E0CED03E51D4E8365767F09942B9625B1791D889AFE490113BAF34F82E
50     Info Hash:                                                         12-11-     Blacked   01-23-2021   02-09-2021   PA0002276146
       7AD634DDF39D6C357029F9B8DA853344A9154CA3                           2021
       File Hash:                                                         18:55:25
       ABD1CF9BE94C07E7BA99AD39BA2A1F827B3E71F1677F7CFC5C5731EEFFC66D57
51     Info Hash:                                                         12-07-     Blacked   12-04-2021   12-09-2021   PA0002325833
       BCBD8FAF1DB6CBFA47BF0C1255C8AC1654C2ECAA                           2021
       File Hash:                                                         00:22:46
       DC9C7AF7C5D6B7CB9A62E46C3E775F52B2D54577D11AEF7850CB200CF1E443CB
52     Info Hash:                                                         12-04-     Vixen     05-22-2020   06-22-2020   PA0002245640
       47365B31B7686F2653AA3BD794798E981E8EF0E1                           2021
       File Hash:                                                         05:47:34
       400282296C0B501AB8384682184510E5D0C4055777FCA56052F41ED538F3FA6D
53     Info Hash:                                                         12-04-     Blacked   08-24-2020   09-05-2020   PA0002255474
       15703C64531B7F3820339C06473B13AB5FC50979                           2021       Raw
       File Hash:                                                         05:46:20
       D4CCC3F901BCC7E6E808078BDD2C1A5A072F48CB12874A84763DB3794B0A7FDD
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 7 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
54     Info Hash:                                                         11-27-     Blacked   09-28-2020   10-22-2020   PA0002261800
       11317BD69D7E2FE51E3BDDC1C53B65643242CB9C                           2021       Raw
       File Hash:                                                         03:10:38
       F63C87FC2DE9AF3AE5B0803EA75F2ECD3EE51ACC21B0A12F11F155DB8E891C77
55     Info Hash:                                                         11-23-     Blacked   11-20-2021   12-09-2021   PA0002325817
       0E4CACEDCCDF0CEAF44A2BE0EC857587D35EA57A                           2021
       File Hash:                                                         04:48:29
       CE825ED8394023946EA5073AD8CD9A7095F4B9B6F597C02D4CB498375948662B
56     Info Hash:                                                         11-22-     Blacked   10-22-2017   11-21-2017   PA0002063627
       F829B85576DFA3D70ECE2C441F21BDBEC39DB7DF                           2021
       File Hash:                                                         03:50:25
       DA3220A6FAABDDB4AE88E92AD6B5FB6D1E25F2C56C31865D1CEC251D23E537A4
57     Info Hash:                                                         11-18-     Blacked   09-29-2018   11-01-2018   PA0002143425
       C2295AE8704ED037E9E49C2B4B5FBA45316C02A8                           2021       Raw
       File Hash:                                                         04:41:26
       9502A6D713E597EA87671BC97A6B83FA8C08CE59EEDE4B4EAC0871660F6D17D5
58     Info Hash:                                                         11-18-     Blacked   08-08-2018   09-01-2018   PA0002119598
       223D4DB0ECFA99B84C7510AF336D48C5494E3DF7                           2021
       File Hash:                                                         04:38:22
       52EDB908CC74DE921A210770E7B1CE52354936A1DB6F171466EC74F6AA49B8C5
59     Info Hash:                                                         11-15-     Vixen     11-12-2021   12-09-2021   PA0002325810
       795401C50FDDADEABBF656934EF4862EDAF4D812                           2021
       File Hash:                                                         06:10:45
       54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429
60     Info Hash:                                                         11-13-     Blacked   03-18-2019   04-08-2019   PA0002164883
       CE74EDC69A9EE02D7EAEF30B9F3DC7A0FA93CA19                           2021       Raw
       File Hash:                                                         21:13:45
       AD6B67077E3A7384F427669028069434AC296F9CD332D65D172D09396AC3005B
61     Info Hash:                                                         11-13-     Blacked   06-04-2019   07-17-2019   PA0002188309
       E6683078F639AE7A581BCADF96A49BC808143689                           2021
       File Hash:                                                         20:58:01
       38205F001C261D5FD79FC2A35134BB96F8E549E9C410643AF6D25CD576A53DA6
62     Info Hash:                                                         11-13-     Blacked   08-08-2019   09-17-2019   PA0002216217
       C6AACF8B5EBC7F41C26EBB07A4DABE1287B3C675                           2021
       File Hash:                                                         20:40:45
       2D4D64E994B54F6310EAF6658524F2A7B0F98B62A56F4F9B5A2EE8CC25656EB5
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 8 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
63     Info Hash:                                                         11-13-     Blacked   12-08-2018   12-18-2018   PA0002141919
       A79E1BEA716422681872B46A4AC579C82B92D143                           2021       Raw
       File Hash:                                                         20:33:21
       4BFFA4BEDA4DA82D9C1C41DB5B85569501D6F5158228026CBE8B3B956EA24299
64     Info Hash:                                                         11-13-     Blacked   09-25-2021   10-05-2021   PA0002315288
       8F5305E4A5285CF5A766334ABC97D190CB1AC874                           2021
       File Hash:                                                         20:30:59
       84723E9F05287A7F8EA5504E6382D15F7CBAA540619211B9334DD6B6647267BB
65     Info Hash:                                                         11-13-     Blacked   03-27-2021   04-27-2021   PA0002288945
       10C91184EF279775EAD44F654BDD1466DEF80FF6                           2021
       File Hash:                                                         20:25:41
       889C75786835EAFDB35672E2E8F6950C938E03AC610088DF4E9CA6F94C243FE8
66     Info Hash:                                                         11-13-     Blacked   12-21-2020   01-05-2021   PA0002269958
       08E4516F2B10B7116E9DFDC23BAD089C16D51A99                           2021       Raw
       File Hash:                                                         20:22:54
       59CC496DF2C8E95867635AE3E980F1431D87E8711786E031BF179B341324DF38
67     Info Hash:                                                         11-13-     Blacked   09-05-2020   09-29-2020   PA0002258686
       979CD4F798E6D0277F211C43B2DEAD821781AAB7                           2021
       File Hash:                                                         20:21:59
       E4EF4298821183831E08081314D570BF54150A02DA0ADFFD61F03A99A9653C34
68     Info Hash:                                                         11-13-     Blacked   10-24-2020   11-05-2020   PA0002263386
       3818467D5DC9DDB317735107C4146CBB3C456751                           2021
       File Hash:                                                         20:20:59
       76CC20D3E9FC939ED897DF2598478477E80E3E647195FEC6250C8664D38F8A3E
69     Info Hash:                                                         11-13-     Blacked   02-14-2020   03-18-2020   PA0002241448
       45BD7EB6EC3A335403A10A66A52919DBE8FD0208                           2021
       File Hash:                                                         20:17:24
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B
70     Info Hash:                                                         11-13-     Blacked   06-29-2018   07-26-2018   PA0002112160
       5D16EC2FE6C9F9FA9F5476C90525208D413532F1                           2021
       File Hash:                                                         20:17:22
       247DCE33E47A1EC566200C820669478595511EF53F3A644E15EBEE009FBBD0A0
71     Info Hash:                                                         11-13-     Blacked   03-07-2020   04-17-2020   PA0002246118
       14B10A509F9801CDB0F3A26FB468B879FA1052C7                           2021       Raw
       File Hash:                                                         20:15:41
       7111B20609AC2DDD76A51E9E2F4910F0DFD86179DD930790BD97963AE5C365E0
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 9 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
72     Info Hash:                                                         11-13-     Blacked   11-06-2019   11-15-2019   PA0002211857
       D7849F96160CA679A287B837FEFE40DDEA87571B                           2021
       File Hash:                                                         20:15:01
       0A445E74466B1700F1F7402E2C9F03169006656C8BA6A80CD36958EF9C0589E1
73     Info Hash:                                                         11-13-     Blacked   04-25-2018   06-19-2018   PA0002126642
       96AEF5CCCC986CCBC629B6F97649BCEBBC0586B2                           2021
       File Hash:                                                         20:02:28
       91586FC60AEA8195E518F7211642E75475C9BFD182FEA0517D1CBA403D777473
74     Info Hash:                                                         11-13-     Blacked   06-24-2018   07-26-2018   PA0002112154
       8031B4A7A5CFCECBC796D4772440BFC5016C11AA                           2021
       File Hash:                                                         19:59:21
       6BC6E1D6C35FB48E06C6A8D7BBF0DF2769A8B15B04C14B904550055F04219187
75     Info Hash:                                                         11-13-     Blacked   04-02-2018   04-17-2018   PA0002116078
       D50BF8212FE5D98D5F36C1B12E745F493E67C6DE                           2021       Raw
       File Hash:                                                         19:32:44
       1EC6AF2A9B6F2C1940561B49D1B98E76A25192B5E03C0783E6E0C143961D87D7
76     Info Hash:                                                         10-31-     Blacked   05-05-2018   05-24-2018   PA0002101366
       729F4F046005EFDCD2954C73FC9786EA9522F034                           2021
       File Hash:                                                         20:28:50
       BDA4C088BED8C71E60817F42F99A1FDE8F7F9E5D6112F08E2A704F70C8DECC2C
77     Info Hash:                                                         10-24-     Vixen     10-22-2021   11-11-2021   PA0002321272
       D156C5F6B8F3AF78BE99FC1DD0FBF7177BBCED5C                           2021
       File Hash:                                                         20:33:14
       59510D6F123F21429DA99C2323BF6EC72A9E3C364259F9D987AE22848F5FC312
78     Info Hash:                                                         10-15-     Blacked   10-11-2021   10-19-2021   PA0002317052
       65F37FE17537496C1BE553A0EB8C260788E46A02                           2021       Raw
       File Hash:                                                         01:18:39
       361ADF7C86F02EF214E053C78F3ED35534451586D87CB71E1E13F09D433F6F38
79     Info Hash:                                                         10-12-     Blacked   04-07-2019   05-28-2019   PA0002200775
       388E7ED27703F4B83AC8FC4EA6512E7B4FBC5AEC                           2021       Raw
       File Hash:                                                         03:41:36
       262B5FB839942C0084068E0031AADA76ED68D812EC7C6AEF113473B261AE1A29
80     Info Hash:                                                         10-12-     Vixen     03-10-2018   04-17-2018   PA0002116743
       0ED1618079E29D4BB708465328D67B227B1AA795                           2021
       File Hash:                                                         02:35:58
       74BFE94A22A1AE503CFC1932F5AD24D246D29B424A39F00629A536CC93B83BAF
                           Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 10 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
81     Info Hash:                                                         10-12-     Vixen     08-12-2018   09-01-2018   PA0002119680
       F518524A3E8B5819DB451A88F725D979F728EC34                           2021
       File Hash:                                                         02:34:46
       214831A9AE0BDE41D7CC70624EDBDC1409C5DCDC9C98B7E89CCFD1662F95A0E7
82     Info Hash:                                                         10-12-     Blacked   09-22-2018   11-01-2018   PA0002143419
       3981818C672261E5A1A0D5B561F7A7FEF98A7805                           2021
       File Hash:                                                         02:18:56
       35C429C3F1AF53B7D00E899665896B85A9252E0DFB8DF5CEF31D564AF0FBA1F0
83     Info Hash:                                                         10-09-     Blacked   11-16-2017   11-21-2017   PA0002098042
       6671533EE8277923DF4254534389F8630C5BF901                           2021
       File Hash:                                                         15:52:51
       E0FAF6BEA1F4A89CD20AC1663D44E496BEC7768D3B10A75F9EC68A970EADA341
84     Info Hash:                                                         10-02-     Blacked   01-02-2021   01-05-2021   PA0002269954
       592CC90904C53EF2703DB9CFE9C4184C72214506                           2021
       File Hash:                                                         20:13:16
       23D54B2543E07A11C8AE2914890F822A39159C9D5F9AD4C7BD1A1703C95626AB
85     Info Hash:                                                         10-02-     Vixen     11-27-2020   11-30-2020   PA0002266359
       E94C6C84F8CB699DC6A5BEAF48D1409C03D3A09A                           2021
       File Hash:                                                         20:07:54
       EED64CB65161A021598703F22CDCA5D24EA9C70C1B9F038BAFD55B5271A7786E
86     Info Hash:                                                         09-17-     Blacked   03-13-2019   04-17-2019   PA0002186977
       16532C1256F1D8936C056A44AAECF4E274B576EB                           2021       Raw
       File Hash:                                                         03:43:14
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D
87     Info Hash:                                                         09-17-     Blacked   05-27-2019   06-13-2019   PA0002180951
       D93E7A2150B84861096407A9CABB85144D6DA4EC                           2021       Raw
       File Hash:                                                         03:42:50
       7181F8C850321C93A227560AC549BC5E49DAB521BB9974A950DF7FA6EE4E28C1
88     Info Hash:                                                         08-27-     Blacked   12-07-2020   12-28-2020   PA0002269082
       DB0A6C09AFAD8158D7C66AA690789A4FFF1E420F                           2021       Raw
       File Hash:                                                         04:50:58
       16C7BFE26C8FD0235DF2F746F947F27F88764464E2AA3A5129A6ADAA2B4B8F67
89     Info Hash:                                                         08-27-     Vixen     10-16-2020   11-18-2020   PA0002272621
       654CFBA775433926717A3E0D58C90196F0413460                           2021
       File Hash:                                                         04:48:28
       BE957B752D7675E37648F2D81C3040F9E272C6D4588CBDFAB6E52E785DD954C9
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 11 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
90     Info Hash:                                                         08-27-     Vixen     05-28-2021   08-02-2021   PA0002305093
       55C907CA49DB8C7D4C33933D3FD47E9896848AB8                           2021
       File Hash:                                                         04:37:50
       57CEB08061E7896D812C3BDAEC0B4FEA63D0AC23E8A342DFA53F1B1EDD7BF73F
91     Info Hash:                                                         08-27-     Vixen     01-14-2019   02-02-2019   PA0002155387
       FCF2223C2AFD2901C1AC8C9EA95467B555E65E1E                           2021
       File Hash:                                                         04:31:47
       A9596964DEE36F1C6190EF9A49570A4D435010B85BD899886799BE731C4B6A07
92     Info Hash:                                                         08-27-     Blacked   05-25-2020   06-22-2020   PA0002245633
       5AF65FC2F36FDE10482D4C645E22493BBB1E7A41                           2021       Raw
       File Hash:                                                         04:31:32
       7D3192E9D7806075BD7916816DC9771E30741ACC903282A22FEEB98033F789D4
93     Info Hash:                                                         08-25-     Blacked   08-23-2021   09-21-2021   PA0002312669
       5AF8BDB7BB936BEB5C251399D8B1C5BC9E64235C                           2021       Raw
       File Hash:                                                         04:54:38
       F307B51605F9F545AA17537F8AA95577C275804D38C1A037578DCCAA567EB268
94     Info Hash:                                                         08-22-     Blacked   07-27-2020   08-11-2020   PA0002252262
       9EF1697DACB071381C0A2D332FA66FA85F359C74                           2021       Raw
       File Hash:                                                         21:46:22
       66F290059B0AF3622E0841D66009807CC8CCA6EE29AF736E370C18BABC4C4885
95     Info Hash:                                                         08-09-     Vixen     12-30-2018   01-22-2019   PA0002147900
       A7671D9A943B4580C4CA097645722A9860A70621                           2021
       File Hash:                                                         06:55:32
       72E74631F4ADA633B04B9331C52924F1A7B9409CADA4E594E20FF2294EA23A82
96     Info Hash:                                                         08-09-     Blacked   11-25-2019   12-09-2019   PA0002216262
       E9DB8BE26B56BFF69AC9279777644AE132988A8F                           2021
       File Hash:                                                         06:51:51
       F83F1606590AC7256D37203AA4280E8892E6D55FE39E51AEFFF1693785E7D656
97     Info Hash:                                                         08-09-     Blacked   01-20-2019   02-22-2019   PA0002155135
       C49AEC5636CEE48A256215D292AA9529A653CBDD                           2021
       File Hash:                                                         06:48:38
       E89274774822A469EE4796AE90F079BBDB21C4EA6BBF23EDEB85AA5E2C6BF2BF
98     Info Hash:                                                         08-09-     Blacked   02-13-2019   03-24-2019   PA0002183197
       DAAB1603971461BD3D663620ED1313A2096BA184                           2021       Raw
       File Hash:                                                         06:48:23
       208C2094E936E0C81D7BE784548F4DEEC34975FA611D8D2CD633CCB4F288C2C3
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 12 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
99     Info Hash:                                                         08-09-     Vixen     09-11-2019   09-25-2019   PA0002203160
       73A2A94B799E648A0B3BF984EF26B33BDB6D9F3B                           2021
       File Hash:                                                         06:48:14
       3A43357A29B98E7B2324EEF0D6C3A5757CB6607382EEDD5ABFAB1839DE1F84DA
100    Info Hash:                                                         08-09-     Vixen     03-20-2019   04-17-2019   PA0002186982
       23118C154A2FD4EBC3BD00500D2DCDEA4F2C56B1                           2021
       File Hash:                                                         06:47:29
       3DA5CEB1E2331B505481C38046515105224F4DBBA22196663E8B26FDDBA4A8E7
101    Info Hash:                                                         08-09-     Blacked   03-10-2020   04-15-2020   PA0002246103
       EFA937808F0ED58A57B5B7902F86CC46FFEF4A88                           2021
       File Hash:                                                         06:46:32
       B1ACA1BB3FF18B56DD4E28B45C13CEF7155C393C134B08F2317639FEF5A59520
102    Info Hash:                                                         08-08-     Vixen     09-06-2018   11-01-2018   PA0002143433
       B80966EB25CE62DA272DA719ED0EFEF0C671D237                           2021
       File Hash:                                                         16:20:36
       880F10162CDB56DC5247BDCEB67E9A21030D9D6959F71B6C800B1B850F8DDE38
103    Info Hash:                                                         08-08-     Vixen     10-06-2019   10-21-2019   PA0002207778
       06A699F04233A269B959CFBD8EF524A5BAE9D731                           2021
       File Hash:                                                         16:20:23
       B723692E9D6892949F879FCEA92B1FE19361ABB754D298EC37F2A99AE416B9BE
104    Info Hash:                                                         07-08-     Blacked   07-03-2021   08-02-2021   PA0002305091
       66E841DDD72A50FF74298079B63B8046D69081CA                           2021
       File Hash:                                                         23:10:21
       64783253670BAC42DF82F0CC9608EDB50306F7A4E72DE0A5C15320491B71A48A
105    Info Hash:                                                         06-16-     Blacked   04-27-2018   05-24-2018   PA0002101367
       77D8F8804BF34262A34B4F45CAE4CC5BF3C369D8                           2021       Raw
       File Hash:                                                         01:15:02
       05D449B06FC67A1FEEE41928C04D0411CF8901CBE28C1F67065FC7C6B0C1C60D
106    Info Hash:                                                         06-16-     Blacked   11-11-2017   11-27-2017   PA0002098000
       7AA9EE0B623B3876BDBBB4854D311BA014697009                           2021
       File Hash:                                                         00:57:08
       577DD7CC610D0E87E1C3540C9B8C3AC9468189E7F0EDCD628D3AD9AAC0E2209B
107    Info Hash:                                                         06-16-     Blacked   03-11-2017   05-25-2017   PA0002049782
       239D448A998CCFCE55473285582E3BA1EA30D3EF                           2021
       File Hash:                                                         00:55:31
       35DF3BF51C0A48E66B29F01C7D74A5EC8EBD775D13D7EBF35122672C4C97AA89
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 13 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
108    Info Hash:                                                         06-16-     Blacked   06-29-2017   07-07-2017   PA0002070821
       B2A07B06BC54F48606F8393BFCCD614304A447E0                           2021
       File Hash:                                                         00:55:21
       A83B11B919076A7C043AB4A4D5B1D22764D0765D441C003E1319354BD0F1835E
109    Info Hash:                                                         06-16-     Blacked   01-10-2018   01-15-2018   PA0002070942
       74AEEF550371F9D107ADF0042CC362918DDF1D7C                           2021
       File Hash:                                                         00:52:16
       05C6927CDB7B010D6344FC7DD0F944E9478B52E08BAB5C162A9843CCDBB7A6D6
110    Info Hash:                                                         05-17-     Blacked   05-12-2018   05-24-2018   PA0002101380
       1ED7894C730F91D284F9451A87ECDC8F5187BF50                           2021       Raw
       File Hash:                                                         22:12:23
       38583D10BC13553F985C29BAE89EF5FBF0C3DE0603CF9C41C598EDB9A7D3426E
111    Info Hash:                                                         05-17-     Blacked   09-27-2019   10-07-2019   PA0002205468
       28F641DD86A31D9DE4BFD2443457D581BBB660A1                           2021
       File Hash:                                                         22:07:20
       5A27FE917CEC0B20F5E51A87F23515ED22F45719715C331F7E5ADEE1E0E2E837
112    Info Hash:                                                         05-17-     Blacked   01-07-2018   01-24-2018   PA0002101759
       43AF666D13FBC2B12953D257F6CA4935FC3CD7B5                           2021       Raw
       File Hash:                                                         22:05:59
       F34A0453DC1A135DD6269A22BD1DEC952B15DB34964CB49EF25E5C0E66F57423
113    Info Hash:                                                         05-17-     Blacked   11-14-2020   11-30-2020   PA0002266362
       B842125724634B62F2F35B16A4F876EB63493A7C                           2021
       File Hash:                                                         21:42:08
       A0FD9B99E132B1CA64E0BA989C6610FC3855446B91DCD42FEAFC353CCA7F89A8
114    Info Hash:                                                         05-17-     Blacked   12-21-2019   01-03-2020   PA0002219632
       857B8C6F2AF004FCD484BAA8B1FFA31A2D25251D                           2021
       File Hash:                                                         21:41:26
       09D7D1B995F174ED3218D78E03D8B1FA9D13BB1D9658504640E2AFA60FFB8592
115    Info Hash:                                                         05-17-     Blacked   07-14-2017   08-11-2017   PA0002046878
       EB7AE91B0DD3565F29908CB6FB8ED993D709A162                           2021
       File Hash:                                                         21:34:16
       5D267332EACB6B25E1184700B8A94114CF51751F263DBED7BE500DEE756C6EA5
116    Info Hash:                                                         05-17-     Blacked   12-11-2017   01-04-2018   PA0002097429
       E10259BB09AFE9410D944641E94048900ADEF0F2                           2021
       File Hash:                                                         21:31:52
       BB40FB2FA9D578CD64AC8B698B074D104111183A93BFCEDB62320B19FCA0580E
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 14 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
117    Info Hash:                                                         04-04-     Blacked   04-03-2021   04-14-2021   PA0002286725
       36DA7FCCE78EB7E0849DDB47D6756F16E4B04F41                           2021
       File Hash:                                                         04:44:44
       4A36B6F95EEFA0C0CD62A7E15035DFD57354A29C633509044D64B6DF03341013
118    Info Hash:                                                         04-01-     Blacked   02-04-2018   03-01-2018   PA0002079189
       082C43A6A41C30507682EB32F25A418C5223436D                           2021
       File Hash:                                                         20:14:13
       525BCD317D68758E91135EEF8FC7EBE05FFE3DD5CAD10F65C4F69FBAB7D02A9C
119    Info Hash:                                                         03-30-     Blacked   03-01-2021   03-08-2021   PA0002280355
       A7F1171CFACE35002A796CC7428B8304B4D2F335                           2021       Raw
       File Hash:                                                         19:41:44
       997739CDCA49570ACD6F62ED8DA696908D68B6C43D24AF15EE3A11422344A509
120    Info Hash:                                                         03-20-     Blacked   09-07-2017   09-15-2017   PA0002052840
       AFA4C44023577E2A90E1CFA8DB69A6F5D035B1D2                           2021
       File Hash:                                                         20:55:59
       CEDBAC62A67199295C21B1F23AB0587A9EC912B54A2172369259EDBFF9C5FA09
121    Info Hash:                                                         03-20-     Vixen     07-13-2018   08-07-2018   PA0002131906
       0055B788E96EAA3B5D4A4142C2DF5337045FFD4D                           2021
       File Hash:                                                         20:12:19
       593873BAAF5820606B36CE0BFD93DD950C1A301C479A9C0FD3772D87360368F8
122    Info Hash:                                                         03-20-     Blacked   07-06-2018   07-26-2018   PA0002112158
       623D4B76B7DEFED0C91EDD5FE108D7E986691273                           2021       Raw
       File Hash:                                                         20:11:14
       9AE624B51FE7E991F6BD22B67494B7D5F2FB79F3EBC4716BA7064A888A376388
123    Info Hash:                                                         03-20-     Blacked   11-01-2018   11-25-2018   PA0002136644
       056C78DF7A658DDF50A2394F5E4FA18BCF095426                           2021
       File Hash:                                                         20:05:24
       C7B5E9A9DE1D0417FB7352EE102DE1F8518F2717FA82F7799F0D561762B24FAB
124    Info Hash:                                                         03-20-     Blacked   05-30-2018   07-14-2018   PA0002131762
       9F02218C1488544F43D1FED807CB4B40D368A4BA                           2021
       File Hash:                                                         20:01:41
       3210C686463C73333D6A4E8FA81DAFF8431FD523F0C99D4114DD6DF2B781D24E
125    Info Hash:                                                         03-20-     Blacked   03-15-2021   03-22-2021   PA0002282515
       A336696E808574CA1ECCACA1E080D6993CE3E408                           2021       Raw
       File Hash:                                                         19:40:12
       76ACEB0964E0FBDF7535C99F405DC85A8F13DF4C35810F11890C0E5815A50F07
                           Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 15 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
126    Info Hash:                                                         03-08-     Blacked   02-06-2020   02-20-2020   PA0002229053
       BA4548E157820A3DF2C7D690EA08DB61F12C949A                           2021       Raw
       File Hash:                                                         17:27:06
       95514F92F5CF9A316B04E53BA54298EF21933141B0FACE94D8C1B7C7EE95CE39
127    Info Hash:                                                         03-08-     Blacked   05-22-2019   07-17-2019   PA0002188299
       DDE59C875C7FEDB150E58E51ACFF8D33FDB2CF72                           2021       Raw
       File Hash:                                                         17:08:52
       B1EAEAD5B5D4AA4102D4A0D46CF8206B6D4E3C6E2EAD3BAFD1BD26D336683604
128    Info Hash:                                                         02-14-     Blacked   08-23-2019   09-11-2019   PA0002199989
       CB0D3A2DD39D12D6D1D0E2C443ED888B62498111                           2021
       File Hash:                                                         18:18:54
       7B707376CC5B122A7C27CDA6D9D25EA806B8A3386816712746E86CC013B76C2A
129    Info Hash:                                                         02-14-     Blacked   08-31-2020   09-05-2020   PA0002255473
       4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                           2021       Raw
       File Hash:                                                         18:03:44
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31
130    Info Hash:                                                         02-14-     Vixen     01-29-2020   02-20-2020   PA0002229058
       FF16D5C558E22B9BA334778EF92DDCAC4B9C219F                           2021
       File Hash:                                                         17:58:08
       0A6AC3A4977BD540B7DF072701AB010EE0AFC960275C3F4BBE458E3B8FAEF669
131    Info Hash:                                                         02-14-     Blacked   10-03-2020   10-22-2020   PA0002261803
       A78A55819785D5BA5E569101472A4D9E06CF867A                           2021
       File Hash:                                                         17:54:02
       ADDC73912EE777EB7455915C5BAD3A332E1F6EA951019C2EA1284BE0F356CE0C
132    Info Hash:                                                         02-03-     Vixen     10-31-2017   12-05-2017   PA0002097990
       2CB43429526775645D5837FE2C63CFFB1B0D2802                           2021
       File Hash:                                                         06:09:31
       EB2B5C92F269F5EA20F2A1DBD939200B14E14F55045A50A115DD1760BBCFDE20
133    Info Hash:                                                         02-02-     Blacked   01-30-2021   02-26-2021   PA0002283695
       2BE97DFA49EF767D94E4040239C494349D409C46                           2021
       File Hash:                                                         21:30:05
       EBECDE01923BC5F8B50C0700F6BD81D8A5DCE5C823A61C812B675ED1D9613424
134    Info Hash:                                                         02-01-     Blacked   03-21-2020   04-15-2020   PA0002246170
       EF2C669D22E2B42C035E6131AB66D13DD0D82952                           2021
       File Hash:                                                         19:56:53
       0F5E8CB6904F97C4C3BCA128BC2BAC1C269851A9CB76985D5B2C6E5B4BDDB11B
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 16 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
135    Info Hash:                                                         02-01-     Blacked   12-20-2018   01-22-2019   PA0002147906
       45D4AF0C0675541261833DD3255ABBED35C8CBD4                           2021       Raw
       File Hash:                                                         19:56:52
       4F731D5E327C869637362FF7ADB2E22BA17083F6DCF62EB3C556EDC2FE87FE98
136    Info Hash:                                                         02-01-     Vixen     05-14-2019   07-05-2019   PA0002206408
       C542D326EE13C9860B8EE438E27E0EB12257FB94                           2021
       File Hash:                                                         19:26:32
       842DD7F6893D36DBF41DE757F110D74DAE4F036240C7F9E6A3008868F09FC99B
137    Info Hash:                                                         02-01-     Vixen     07-08-2019   09-10-2019   PA0002199411
       AB6F5DDED2290838AD429C5C8048ECD822E37AFC                           2021
       File Hash:                                                         19:20:36
       E3929017009B2C9EFC94F419309B16346A86AAE8361D5BA626E7E98131473127
138    Info Hash:                                                         01-24-     Blacked   03-28-2019   05-28-2019   PA0002200777
       C20D8CE638A46CD39FA65004C565F7F85846691D                           2021       Raw
       File Hash:                                                         20:49:08
       EA5B48145CBAF733479368D9256BC9D6AA8EC5702C56014718B4A1CBA7E39563
139    Info Hash:                                                         01-24-     Vixen     01-22-2021   02-26-2021   PA0002283698
       C47DD4D0FEAE92D747EA81B5EFB91F2FAE62A77B                           2021
       File Hash:                                                         19:40:11
       784B14F9E8413BC9FBF8064691EB0B59491B40FCABD60052C741902CE0984D50
140    Info Hash:                                                         01-24-     Blacked   01-18-2021   02-09-2021   PA0002276148
       A098525E9AFF43231A7DF6BB8EBAE6B031BEA699                           2021       Raw
       File Hash:                                                         19:39:31
       24B59DE82823571AA66BC642C6246BB56F743A403833A41BD4536D742034AA60
141    Info Hash:                                                         01-18-     Vixen     07-17-2020   08-11-2020   PA0002252259
       242A0C82FBB19155975CE924BD6E19FD3A9E7A8C                           2021
       File Hash:                                                         06:02:04
       14C9457040DBE0CAEB710C8B25B52506C4D506C4E2514358330F6552C99D6266
142    Info Hash:                                                         01-18-     Blacked   08-01-2020   08-11-2020   PA0002252255
       857ECD8EC13C207984FDF9ED1AAB188B50013F5C                           2021
       File Hash:                                                         05:26:25
       6A533C195A378EE2E2EEB458DF0433215FE1763F06885E4D646A316928808046
143    Info Hash:                                                         01-10-     Vixen     01-08-2021   02-02-2021   PA0002280513
       34D11BBB013F62C4D05FF8E35761734EAF7DBBC9                           2021
       File Hash:                                                         08:35:18
       0AB77A3F0D46748F548CAE0998134F33480F2CDD519953D87B5BC127610AF68E
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 17 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
144    Info Hash:                                                         01-04-     Blacked   12-06-2019   12-17-2019   PA0002217665
       86804856761D83AD88F3D60A55538FD4C54CCAF9                           2021
       File Hash:                                                         16:53:04
       A0E0110717861537BA4980ACEF88256134D2FB1A710EA7331055A765A08959FD
145    Info Hash:                                                         12-23-     Blacked   12-19-2020   01-05-2021   PA0002269959
       C067DBC227DB94E5FB957E6FAE57B192B8561351                           2020
       File Hash:                                                         04:11:44
       3E909592198DE6BF9D3DEB7AE4487C211B65DA13FC563501821AAED16352916D
146    Info Hash:                                                         12-23-     Blacked   08-03-2019   09-10-2019   PA0002199412
       998D889AC133E44A451ADAA9C89CE64C3514FBE5                           2020
       File Hash:                                                         04:10:35
       2F74CC0A9BF6B310FD57C4A213A195D653A4A6DC6AD050D61903295596AD7358
147    Info Hash:                                                         11-01-     Blacked   08-03-2018   09-01-2018   PA0002119596
       EE4D29BA667E69950AA31279F7FA846BF696BF9D                           2020
       File Hash:                                                         23:02:48
       CBBA895BE4865BD867EC9F1DE3100FCB5C172459C4E0F59EDC51E5818599B405
148    Info Hash:                                                         09-25-     Blacked   09-21-2020   09-29-2020   PA0002258687
       E9496BC1B3013589D4AAC0C8EFCDE5692E10F62E                           2020       Raw
       File Hash:                                                         06:04:51
       5E469E53EAEF0563C2A211A763A0AA5FD3181F9C701827199E0B4BBB8B4A2C86
149    Info Hash:                                                         09-25-     Blacked   09-19-2020   09-29-2020   PA0002258681
       E2CA4D4217E8E7EDD519E8CC21101219F0611D8A                           2020
       File Hash:                                                         06:03:48
       DCBE041407D9045781E5318840AEAEEE2E846C4FDB72FA4FF168C59CEC30F0EA
150    Info Hash:                                                         08-13-     Blacked   01-25-2020   02-20-2020   PA0002229054
       23C388D3240653681F962910C68DC6BDE0D4777A                           2020
       File Hash:                                                         07:31:21
       6A406B895FB41CA502D4D50EF13223FD8D927292F48E1DBD9AA8E813A921B45F
151    Info Hash:                                                         08-07-     Blacked   12-13-2019   01-22-2020   PA0002234865
       2E7DB9DA1E12BC2963F7DC66AC300417AD983BC7                           2020       Raw
       File Hash:                                                         05:11:16
       358DA725020AF45E0B0CAE9E1D26EBE160E66995B1C4815EE09665B1B4F93BEF
152    Info Hash:                                                         07-24-     Blacked   11-11-2018   11-25-2018   PA0002136642
       E429ECEA3CC731EE2C160A6E4D77991FECDF8897                           2020
       File Hash:                                                         06:14:49
       943CE63AF177C286436B0F920E4BF8839892501E7E9A9946C2E284728D74543F
                           Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 18 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
153    Info Hash:                                                         07-24-     Blacked   02-13-2020   03-18-2020   PA0002241447
       13217DDD5CCF58429D6D779FB99D725AFE8977B3                           2020       Raw
       File Hash:                                                         06:11:56
       113D6680B4E1CA5B0C7C2750EED2410FCAC42C43DBE8EDEB56D2D2FC4B3BA8DE
154    Info Hash:                                                         07-24-     Blacked   12-23-2019   01-03-2020   PA0002219636
       FF4AA172EC0D469A97A0693DDBA0DC1A4ECC701C                           2020       Raw
       File Hash:                                                         06:10:37
       3DECF0AAB8057B9C37D101B6C483E9EF52900F7E0F64F19DB44D782FD9354CF9
155    Info Hash:                                                         07-24-     Blacked   11-06-2018   11-25-2018   PA0002136603
       CE6E3AE355BE0831A6BC74277D06A3BB60A09F5A                           2020
       File Hash:                                                         06:10:04
       C9D25135B90E91BB6451557A25CFF18DF7E804114218FB4E7CB112E333D037EA
156    Info Hash:                                                         07-24-     Blacked   12-31-2018   01-22-2019   PA0002147686
       D35DE91797823D90CFD9EAB5A55CF23E8D37AB3A                           2020
       File Hash:                                                         06:09:42
       5357F350DC180E4750FE7271AC4CB372166EC9146B7D55BDECAD6AD041C6872F
157    Info Hash:                                                         07-05-     Blacked   06-14-2019   07-17-2019   PA0002188312
       DAF9D89021168C36552A3E8144BF0EC1E2B08AE3                           2020
       File Hash:                                                         04:50:57
       82A7BC37315577F4D87CC9E1719E1C30EB0FA435768F3384B48E5F88AED32F20
158    Info Hash:                                                         07-03-     Blacked   09-27-2018   11-01-2018   PA0002143428
       0616906E5B0D445A8FB469D45908C91D24F6CD2F                           2020
       File Hash:                                                         06:08:05
       9AC3BBF9185D5F2498389B013DAD21FC070F127E17E3B94B23F09A5C26518E53
159    Info Hash:                                                         07-02-     Blacked   02-19-2020   03-18-2020   PA0002241617
       549D81C2E31A1CB34CE19937D9D3CEE671D29A4C                           2020
       File Hash:                                                         05:34:57
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6
160    Info Hash:                                                         07-02-     Blacked   01-17-2019   02-22-2019   PA0002155141
       498C38E65A191A26E153A7D80BCFBCA20069BDFD                           2020       Raw
       File Hash:                                                         05:32:57
       7D77CD89BDDD5175B6C5775155ABE6765DBCC8D9D3D09DB4A285FF43F55D7EB8
161    Info Hash:                                                         07-02-     Blacked   12-13-2018   02-02-2019   PA0002154971
       ECFEC3C1CEA5BACDED5052AB2E57DEAAD83FFF39                           2020       Raw
       File Hash:                                                         05:00:16
       BF2324E563299B843D750C225AA4713748F774270CACA8F99C61C55B55BEC599
                            Case 2:22-cv-00388-TLN-CKD Document 1-1 Filed 03/01/22 Page 19 of 19
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
162    Info Hash:                                                         06-28-     Blacked   09-29-2019   10-21-2019   PA0002207777
       A293C6DB6C2A564F2EBBF7F273138154D95D3C4C                           2020       Raw
       File Hash:                                                         21:15:17
       75CF2A35CD67E106DC2D5C349DA347EBE72F275E10C4A134CF140C2662694B79
163    Info Hash:                                                         06-28-     Blacked   03-11-2019   03-31-2019   PA0002163979
       72555676245CA53C457541455A41821330714A7A                           2020
       File Hash:                                                         21:11:36
       4FF404477E05C99BDAB75A2082DAD57AF4A52BF2271449F1448891B4CD1A1BC9
